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                                United States District Court
                                Northern District of Texas


                Supplemental Civil Cover Sheet For Cases Removed
                               From State Court


This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S.
          District Clerk’s Office. Additional sheets may be used as necessary.


1.      State Court Information:

        Please identify the court from which the case is being removed and specify the number
        assigned to the case in that court.

        Court                                                        Case Number
        192nd Judicial District Court, Dallas County, TX             Cause No. DC-17-07579


2.      Style of the Case:

        Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counter-claimant(s), Cross-
        claimant(s) and Third Party Claimant(s) still remaining in the case and indicate their party
        type. Also, please list the attorney(s) of record for each party named and include their bar
        number, firm name, correct mailing address, and phone number (including area code.)

Party and Party Type                               Attorney(s)
Gabriela A. Magnussen (Plaintiff)                  Gina Giblin
                                                   State Bar No: 00787532
                                                   Email: ggiblin@dgley.com
                                                   E-Service: dallasoffice@dgley.com
                                                   Law Office of Domingo Garcia, P.C.
                                                   400 S. Zang Blvd.
                                                   6th Floor, Suite 600
                                                   Dallas, TX 75208
                                                   Tel: (214) 941-8300
                                                   Fax: (214) 943-7536 (Fax)

Marlene Scott Belcher (Defendant)                  Michael P. Sharp
                                                   State Bar No. 00788857
                                                   Email: msharp@feesmith.com
                                                   Jason A. Burris
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                                                  State Bar No. 24049591
                                                  Email: jburris@feesmith.com
                                                  Fee, Smith, Sharp & Vitullo, L.L.P.
                                                  Three Galleria Tower
                                                  13155 Noel Road, Suite 1000
                                                  Dallas, TX 75240
                                                  (972) 934-9100
                                                  (972) 934-9200 (Fax)

Schneider National Carriers, Inc. (Defendant)     Michael P. Sharp
                                                  State Bar No. 00788857
                                                  Email: msharp@feesmith.com
                                                  Jason A. Burris
                                                  State Bar No. 24049591
                                                  Email: jburris@feesmith.com
                                                  Fee, Smith, Sharp & Vitullo, L.L.P.
                                                  Three Galleria Tower
                                                  13155 Noel Road, Suite 1000
                                                  Dallas, TX 75240
                                                  (972) 934-9100
                                                  (972) 934-9200 (Fax)


3.     Jury Demand:

       Was a Jury Demand made in State Court?                      X Yes _ No

              If "Yes," by which party and on what date?

              Gabriela A. Magnussen                                Jun 26, 2017
              Party                                                Date



4.     Answer:

       Was an Answer made in State Court?                          X Yes _ No

              If "Yes," by which party and on what date?

              Schneider National Carriers, Inc.                    August 8, 2017
              Party                                                Date
              Marlene Scott Belcher                                August 8, 2017
              Party                                                Date
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5.   Unserved Parties:

     The following parties have not been served at the time this case was removed:

     Party                                                Reason(s) for No Service
     N/A


6.   Nonsuited, Dismissed or Terminated Parties:

     Please indicate any changes from the style on the State Court papers and the reason for that
     change:

     Party                                         Reason
     Marlene Scott Belcher (Defendant)             Improperly named Marlene Scott Belches


7.   Claims of the Parties:

     The filing party submits the following summary of the remaining claims of each party in this
     litigation:

     Party                                                Claim(s)
     Plaintiff                                            Plaintiff is alleging negligence on
                                                          behalf of Marlene Scott Belcher and
                                                          Schneider National Carriers, Inc. as a
                                                          result of a motor vehicle accident
                                                          which occurred on October 26, 2015.
